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Clerk U.S, Distriel Gourt
Groensboro, NG

         
 

IN THE UNITED STATES DISTRICT COURT

   

FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 

GREENSBORO DIVISION

SHARON RENEA BLACKMON )

Plaintiff )

Vs. )
STATE OF NORTH CAROLINA, ) COMPLAINT
DEPARTMENT OF HEALTH AND ) (Jury Trial Demanded)
HUMAN SERVICES, ) |. HO 1 oY

Defendant )

INTRODUCTION

This is a civil action seeking $500,000 in damages from Defendant State of North Carolina, thru its
political sub-unit NC Department of Health and Human Services, arising from Defendants’ unlawful
termination of Plaintiff, Sharon Renea Blackmon’s, employment in violation of the anti-retaliation
provision of the Fair Labor Standards Act (FLSA), 29 U.S.C. § 215 et. seq. and the Family Medical Leave
Act (FMLA), 29 U.S.C. § 2601 et. Seq.

PROCEDURAL BACKGROUND

There are no exhaustion of administrative remedies nor issuance of a right to sue requirements to be
satisfied in FLSA and/or FMLA actions.

JURISDICTION AND VENUE

 

This action is brought pursuant to 29 U.S.C. § 215 and 29 U.S.C. 2615 et. al. This Court has original
jurisdiction over Plaintiff's federal claim pursuant to 28 U.S.C. § 1331. Venue is proper in the Middle
District of North Carolina under 28 U.S.C. § 1391 (b)(I) and (2).

PARTIES

1. Plaintiff Sharon Renea Blackmon at all relevant times was/is a citizen of and resides in Guilford
County, North Carolina. Plaintiff was employed as a Processing Assistant with Defendants from
March 2010 until August 31, 2017.

2. Defendant, Department of Health and Human Services, is a sub-political unit of the State of
North Carolina which manages the delivery of health and human services for the disabled,
children, elderly, and low-income citizens.

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FACTS AND ALLEGATIONS

Plaintiff hereby incorporates the foregoing facts and allegations by reference herein.
Plaintiff was an “employee” and Defendants were the “employer” within the definition of 29
U.S.C. § 203 et al of the Fair Labor Standard Act (FLSA) at all relevant times during this
complaint.

Defendants employed Plaintiff and was responsible for administering Plaintiff's hours of
work, payment of wages, conditions of employment, and pay policies at all relevant times
during this complaint. .

Defendants are subject to the requirements of the FLSA because they are an enterprise in
interstate commerce and their employees are engaged in interstate commerce.

Plaintiff was employed as a full -time, non-exempt Processing Assistant, subject to the FLSA,
with Defendants for seven and % years from March 2010 untit August 31, 2017.

August 4", 2017, Plaintiff filed a formal unpaid overtime claim against Defendant in the
North Carolina Office of Administrative Hearings {case #170SP05186) after Defendant
repeatedly failed to respond to several internal requests to resolve plaintiff's unpaid
overtime dispute (albeit it was later determined the venue was incorrect).

August 7", 2017, Plaintiff received a request from Defendant’s Regional Director Alma
Taylor, to retroactively change her previously approved prior month’s computer payroll
record from paid leave to leave without pay. This action would cause a salary overpayment
resulting in plaintiff ‘s next paycheck being docked several days.

Defendant's Regional Director, Alma Taylor, at all times relevant during Plaintiff's
employment, has never managed, controlled, or been involved with Plaintiff’s payroll record
as Regional Director until after Plaintiff filed the unpaid overtime complaint.

August 7", 2017, Plaintiff requested additional information and clarity concerning
Defendant Taylor’s retroactive payroll request. Plaintiff stated to Defendant that she used
the same paid leave policy, prior to filing the unpaid overtime complaint, and Defendant
never requested any retroactive changes which would create a dock in future pay.

August 8", 2017, Plaintiff received a request from Defendant’s Division Director, Tara Myers,
at approximately 11:30 A.M., to comply with Regional Director Alma Taylor's directive to
retroactively change her previously approved prior month’s payroll record from paid leave
to leave without pay by 12:00 P.M. or it would be considered insubordination which could
lead up to termination.

Defendant's Divisional Director, Tara Myers, at all times relevant during Plaintiff's
employment, has never managed, controlled, or been involved with Plaintiff’s payroll record
as Divisional Director, until after Plaintiff filed the unpaid overtime comptaint.

Defendant's Local Office Manager, Veta Cooper-Henderson, at all times relevant during
Plaintiff's employment, always had immediate and primary supervisory control over
Plaintiff's payroll record prior to Plaintiff filing the unpaid overtime complaint.

August 8", 2017, Plaintiff responded to Defendant's request before 12:00 P.M. deadline of
her intentions to comply with the original directive to retroactively change her previously
approved payroll record to unpaid leave, out of fear of job loss, by 12:30 due to a pending
priority task that needed immediate attention.

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August 8", 2017, Plaintiff complied with Defendant’s directive to retroactively change her
previously approved payroll record at 12:15 P.M. However, Defendant had already
suspended Plaintiff and placed her on a non-disciplinary, investigatory leave for alleged
insubordination.

August 9", 2017, Plaintiff applied for and Defendant approved 12 weeks/480 hours of
Family Medical Leave via certified mail (confirmation #70120470000163908396).

August 14", 2017, Plaintiff met with Defendant Regional Director, Alma Taylor, to
participate in the investigation conference, despite Plaintiff's objections to the conference
due to her FML status. Plaintiff reiterated she complied with Defendant's directive to
retroactively change her previously approved prior month’s payrall record from paid leave
to unpaid leave.

August 30", 2017, Defendant Taylor scheduled a Pre -Disciplinary conference to give
Plaintiff an opportunity to share information prior to the recommended termination of
employment. Plaintiff emailed a letter, in lieu of appearance, reiterating she complied with
Defendant's directive to retroactively change her previously approved prior month’s payroll
record from paid leave to unpaid leave.

August 31", 2017, Defendant Taylor terminated Plaintiff's year em ployment with North
Carolina Department of Health and Human Services, while Plaintiff was still out on Family
Medical Leave, for alleged unacceptable personal conduct {insubordination) for failure to
retroactively change her previously approved prior month’s payroll record from paid leave
to unpaid leave,

Defendant suspended Plaintiff 4 days after filing the unpaid overtime complaint and
officially terminated Plaintiff's employment 27 days after filing the unpaid overtime
compiaint with the NC Office of Administrative Hearings.

Defendant Taylor, who the Plaintiff named in the overtime complaint, made the decision to
terminate piaintiff’s employment.

Defendants did not follow their progressive discipline policy for Plaintiff's alleged
unacceptable personal conduct as required by the Office of State Human Resources
Ernployee’s Discipline and Suspension Policy.

Plaintiff at ail relevant times during her employment, was never disciplined (i.e. warned,
written-up, suspended without pay, demoted, etc.} by Defendants for any unsatisfactory job
performance or unacceptable personal conduct behavior, including insubordination, prior to
Plaintiff filing the unpaid overtime wage complaint with NC Office of Administrative
Hearings.

Plaintiff, at all relevant times during her employment, always met expectations on her
annual job performance evaluations prior to Plaintiff filing the unpaid overtime wage
complaint with NC Office of Administrative Hearings.

Defendant’s did not follow their interference with FML rights policy as required by the Office
of State Human Resources Employee’s Family Medical Leave Policy. Plaintiff was terminated
August 31, 2017, while out on approved Family Medical Leave and was not restored to her
job or similar position.

Prior to Plaintiff's discharge, Defendant had knowledge of Plaintiffs unpaid overtime
complaint and Family Medical Leave status.

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26. Defendant’s unlawful retaliatory discharge was intentional, willful, and made as a result of
Plaintiff protected activity of filing a complaint and Family Medical Leave status.

FIRST CLAIM FOR RELIEF- FAIR LABOR STANDARDS ACT VIOLATION (Anti-Retaliation)

27. Plaintiff repeats and re-alleges Paragraphs 1 thru 26 above, as if they were fully set forth
herein.

28. This claim under the Fair Labor Standards Act is brought against all Defendants in their
official capacity.

29. Defendant's termination of Plaintiff's employment for filing an unpaid overtime complaint
was willful, intentional, and unlawful.

30. Due to Defendants’ willful and intentional FLSA violations as described above, Plaintiff is
entitied and hereby seeks to recover from Defendants compensation for loss of wages, front
pay, compensatory damages, pre-and post-judgment interests, attorney fees, and other
costs and fees.

SECOND CLAIM FOR RELIEF- FAMILY MEDICAL LEAVE ACT VIOLATION (Interference)

31. Plaintiff repeats and re-alleges Paragraphs 1 thru 26 above, as if they were fully set forth
herein.

32. This claim under the Family Medical Leave is brought against all Defendants in their official
capacity.

33. Defendant’s termination of Plaintiff's employment while Plaintiff was out of work on FMLA
was willful, intentional, and uniawful.

34. Due to Defendants’ willful and intentional FMLA violations as described above, Plaintiff is
entitled and hereby seeks to recover from Defendants compensation for loss of wages, front
pay, compensatory damages, pre-and post-judgment interests, attorney fees, and other
costs and fees.

PRAYER FOR RELIEF

 

WHEREFORE, Plaintiff prays the Court to enter judgment against the Defendants as follows:

1. That the Court declare the Defendants practices complained herein are unlawful under the
FLSA and FMLA.

2. That the Court enter a judgement against Defendants to pay Plaintiffs backpay, front pay,
and compensatory damages in a sum proven at trial.

3. That the Court Award Plaintiff all reasonable costs and attorneys’ fees incurred as a result of
this action.

4. That the Court award the Plaintiff pre-judgment and post-judgment interest, as provided by
law.

5. That the Court award the Plaintiff a trial by a jury.

6, That the Court award such other and further legal and equitable relief as this Court deems
hecessary, just, and proper.

DEMAND FOR A JURY TRIAL

 

Piaintiff hereby demands a trial by jury an all issues presented within.

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